      Case 3:15-cv-03839-L Document 1-1 Filed 12/01/15                       Page 1 of 60 PageID 5



                                UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                         Dallas Division

BINH HOA LE,                                              §
                                                          §
          Plaintiff,                                      §
                                                          §
vs.                                                       §          Civil Action No. ___________________
                                                          §
                                                          §
EXETER FINANCE CORP. and ENZO                             §
PARENT, LLC,                                              §
                                                          §
          Defendants.                                     §

                   DEFENDANTS’ INDEX OF STATE COURT DOCUMENTS

      Pursuant to Local Rule 81.1, Defendants Exeter Finance Corp. and Enzo Parent, LLC, hereby

submit the following index of documents. True and correct copies of these documents are

attached.


      1. Dallas County District Clerk Docket Sheet as of 12/01/2015

      2. Plaintiff’s Original Petition                                              October 2, 2015

      3. Letter to File                                                             October 6, 2015

      4. Plaintiff’s First Amended Petition                                         October 16, 2015

      5. Return of Service                                                          October 20, 2015

      6. Return of Service                                                          October 20, 2015

      7. Defendants’ Special Exceptions and Original Answer                         October 30, 2015

      8. Plaintiff’s Second Amended Petition                                        November 24, 2015




DEFENDANTS’ INDEX OF STATE COURT DOCUMENTS                                                        – PAGE 1
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                                                                                        A
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                                                       Respectfully submitted,




                                                       R. ROGGE DUNN
                                                       State Bar No. 06249500
                                                       Email: dunn@clousedunn.com
                                                       GREGORY M. CLIFT
                                                       State Bar No. 00795835
                                                       Email: gclift@clousedunn.com
                                                       CLOUSE DUNN LLP
                                                       1201 Elm St., Suite 5200
                                                       Dallas, Texas 75270-2142
                                                       Telephone:     (214) 220-3888
                                                       Facsimile:     (214) 220-3833

                                                       ATTORNEYS FOR DEFENDANTS


                                       CERTIFICATE OF SERVICE

         I hereby certify a true and correct copy of this document was served this 1st day of

December, 2015, as follows:


Levi G. McCathern                                             VIA ECF
Matthew S. Muckleroy                                          VIA OVERNIGHT
MCCATHERN, P.L.L.C.                                           VIA FIRST CLASS MAIL
Regency Plaza                                                 VIA FAX 214-741-4717
3710 Rawlins, Suite 1600                                      VIA EMAIL:
Dallas, TX 75219                                               LMCCATHERN@MCCATHERNLAW.COM
                                                              VIA EMAIL:
                                                               MMUCKLEROY@MCCATHERNLAW.COM
                                                              VIA CERTIFIED MAIL, RRR
                                                             ____________________________



                                                                ________________ _____________
                                                                GREGORY M. CLIFT




DEFENDANTS’ INDEX OF STATE COURT DOCUMENTS                                                       – PAGE 2
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                                       DC-15-12151                                              Freeney Anita
                          CAUSE NO. ___________________________

   BINH HOA LE,                                    §        IN THE DISTRICT COURT
        Plaintiff,                                 §
                                                   §
   v.                                              §
                                                   §
   EXETER FINANCE CORP. and ENZO                   §    J-191ST
                                                           _____ JUDICIAL DISTRICT
   PARENT, LLC,                                    §
        Defendants.                                §
                                                   §
                                                   §
                                                   §        DALLAS COUNTY, TEXAS


                            PLAINTIFF’S ORIGINAL PETITION


  TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Plaintiff Binh Hoa Le (“Plaintiff” or “Le”), and files this Plaintiff’s

  Original Petition (the “Petition”), complaining of Defendants Exeter Finance Corp. (“Exeter”)

  and Enzo Parent, LLC (“Enzo,” collectively with Exeter, the “Defendants”); and in support

  thereof would show the Court as follows:

                                           I.
                                DISCOVERY CONTROL PLAN

         1.     Pursuant to TEXAS RULE        OF   CIVIL PROCEDURE 190.3, Plaintiff intends that

  discovery be conducted in this lawsuit under Level 2.

                                             II.
                                    RULE 47 DISCLOSURE

         2.     Pursuant to TEXAS RULE       OF   CIVIL PROCEDURE 47(c), Plaintiff states that he is

  seeking monetary relief over $1,000,000.




  PLAINTIFF’S ORIGINAL PETITION                                                               PAGE 1
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                                              III.
                                            PARTIES

         3.      Plaintiff BINH HOA LE is an individual, who resided in Tarrant County at the

time the causes of action accrued, and who may be served with process through the undersigned

counsel.

         4.      Defendant EXETER FINANCE CORP. is a Texas for-profit corporation, with

its principal office located in Dallas County, Texas at 222 W. Colinas Blvd. Suite 1800, Irving,

Texas 75039, and which may be served by and through its registered agent, Walter E. Evans,

located at the same address.

         5.      Defendant ENZO PARENT, LLC is a foreign (DE) limited liability company,

not registered to transact business in the State of Texas through the Texas Secretary of State.

Defendant Enzo may be served with process by and through its registered agent, The Corporation

Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, DE 19801, or by

and through its president, Tom Anderson, at 222 W. Colinas Blvd. Suite 1800, Irving, Texas

75039.

                                           IV.
                                 JURISDICTION AND VENUE

         6.      The Court has jurisdiction in this case because the damages sought are within the

jurisdictional limits of the Court.

         7.      Venue is proper in Dallas County, pursuant to TEX. CIV. PRAC. & REM. CODE §

15.002(a)(1), because it is the county in which all or a substantial part of the events or omissions

giving rise to Plaintiff’s claims occurred. Venue is also proper in Dallas County, pursuant to TEX.

CIV. PRAC. & REM. CODE § 15.002(a)(3), because it is the county of Defendant Exeter’s principal

office in this state.



PLAINTIFF’S ORIGINAL PETITION                                                                 PAGE 2
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                                           V.
                                  FACTUAL BACKGROUND

         8.     Defendant Exeter is a subprime auto lender that buys loans from more than 10,000

franchised U.S. dealerships.      Exeter, formed in April 2006, engages in the purchasing,

securitization and servicing of nonprime consumer automobile installment sale contracts. Upon

information and belief, Defendant Enzo is the parent holding company of Exeter.

         9.     In or around June 2013, Exeter recruited Plaintiff to serve as the head of its Human

Resources department with the title of Chief Human Resources Officer (CHRO). Plaintiff and

Exeter executed a certain July 25, 2013 agreement (the “Employment Agreement”). Among other

things, the Employment Agreement provided Plaintiff with the following compensation package:


   •     “Profits interest units in the parent company of Exeter Finance Corp., reserved for
         Executive Team Members, subject to vesting, performance and other terms and conditions
         set forth in a management profits interest unit agreement.

   •     As a Key Employee, you will qualify for a Severance and Non-compete Agreement that
         pays, subject to certain terms and conditions, an aggregate amount equal to 150% of the
         base salary and bonus paid to the Key Employee during the one-year period immediately
         preceding termination without cause.”


         10.    In or about May 2014, Enzo and Plaintiff also entered into a certain Management

Profits Interest Unit Agreement (the “Profits Interest Agreement”).            The Profits Interest

Agreement granted Plaintiff certain profits interest units (equaling 6% of the total profits interest

units in Enzo), and provided Plaintiff with certain rights regarding the vesting of such units.

         11.    On or about February 23, 2015, Exeter terminated Plaintiff’s employment without

cause.

         12.    On March 10, 2015, Plaintiff received a correspondence from Tom Anderson, as

President and CEO of Enzo, purporting to provide Plaintiff with a “Call Notice for Certain Earned



PLAINTIFF’S ORIGINAL PETITION                                                                  PAGE 3
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Profits Interest Units” (the “Notice”). The Notice states that Enzo “hereby exercises its Call

Option to purchase 140,452 of the Time-Base Profits Interest units held by [Plaintiff]…which []

constitute all of the Earned Profits Interest Units held by you.” Enzo then represented that the

“fair market value of the Called Units…is $0.00.” The Notice directly violates the terms of the

Profits Interest Agreement, as to the determination of fair market value of the units.

          13.   Further, Exeter refuses to honor the terms of Plaintiff’s compensation under the

Employment Agreement, including, but not limited to, payment to Plaintiff of his severance as

well as his profits interest units.

                                             VI.
                                      CAUSES OF ACTION

                                 COUNT 1: BREACH OF CONTRACT

          14.   Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          15.   The agreements between Plaintiff and Defendants constitute valid and enforceable

agreements in this case. Plaintiff is a proper party to sue for a breach of the agreements. Plaintiff

performed, tendered performance of, or was excused from performing his contractual obligations.

Defendants breached the agreements and Defendants’ breaches caused Plaintiff’s injury.




PLAINTIFF’S ORIGINAL PETITION                                                                  PAGE 4
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                                           VII.
                                      ATTORNEYS’ FEES

       16.     Plaintiff readopts and realleges the allegations above and incorporates the same

herein. Plaintiff is entitled to recover reasonable and necessary attorneys’ fees, including but not

limited to recovery of attorneys’ fees under TEX. CIV. PRAC. & REM. CODE § 38.001.

                                              VIII.
                                           INTEREST

       17.     Plaintiff seeks to recover pre-judgment and post-judgment interest at the

maximum legal rate.

                                          IX.
                                 CONDITIONS PRECEDENT

       18.     Pursuant to TEXAS RULE      OF   CIVIL PROCEDURE 54, all conditions precedent to

Plaintiff’s claims for relief have been performed or have occurred.

                                          X.
                                REQUEST FOR DISCLOSURE

       19.     Pursuant to Rule 194 of the TEXAS RULES OF CIVIL PROCEDURE, Plaintiff hereby

requests that Defendants disclose the information or material described in Rule 194.2(a)–(l),

within the time allotted by the TEXAS RULES OF CIVIL PROCEDURE. Said information or material

shall be produced at the law offices of McCathern, PLLC, 3710 Rawlins Street, Suite 1600,

Dallas, Texas 75219.

                                               PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that upon

final hearing, the Court enter judgment against Defendants in the amounts set forth above,

including, but not limited to the following:



PLAINTIFF’S ORIGINAL PETITION                                                                 PAGE 5
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   (a) Actual damages in the amount determined to have been sustained by Plaintiff;

   (b) Costs and expenses of this lawsuit, including reasonable attorneys’ fees incurred by

      Plaintiff in prosecuting this action;

   (c) Pre-judgment and post-judgment interest on all monetary relief sought herein at the

      highest rates allowed by law; and,

   (d) Such other and further relief, both at law and in equity, to which Plaintiff may be justly

      entitled.

       Date: October 2, 2015

                                                    Respectfully submitted,

                                                    MCCATHERN, P.L.L.C.




                                                    By:/s/ Levi G. McCathern______________
                                                            Levi G. McCathern
                                                            State Bar No. 00787990
                                                            lmccathern@mccathernlaw.com
                                                            Matthew S. Muckleroy
                                                            State Bar No. 24066796
                                                            mmuckleroy@mccathernlaw.com

                                                           Regency Plaza
                                                           3710 Rawlins, Suite 1600
                                                           Dallas, Texas 75219
                                                           Telephone: 214.741.2662
                                                           Facsimile: 214.741.4717

                                                    ATTORNEYS FOR PLAINTIFF




PLAINTIFF’S ORIGINAL PETITION                                                              PAGE 6
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JENNIFER DOUGLAS
Legal Assistant
jdouglas@mccathernlaw.com


                                        October 6, 2015

VIA E-SERVICE
George L. Allen, Sr. Courthouse
191st Judicial District
600 Commerce Street
Dallas, TX 75202

       Re:     Binh H. Le v. Exeter Finance Corp. and Enzo Parent, LLC; In the 191st Judicial
               District Court, DC-15-12151
               Our File No. 03253.0001

Dear Clerk:

      Please issue citations in regard to the above referenced matter. I am electronically posting
payment for copies per the court’s request.

      Please feel free to direct any questions or concerns to my attention. I look forward to
working with you on this matter.


                                             Very truly yours,


                                             /s/ Jennifer Douglas
                                             Jennifer Douglas

/jld
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                                                                                                  David Hernandez

                                   CAUSE NO. DC-15-12151

BINH HOA LE,                                     §        IN THE DISTRICT COURT
      Plaintiff,                                 §
                                                 §
v.                                               §
                                                 §
EXETER FINANCE CORP. and ENZO                    §        191st JUDICIAL DISTRICT
PARENT, LLC,                                     §
     Defendants.                                 §
                                                 §
                                                 §
                                                 §        DALLAS COUNTY, TEXAS


                         PLAINTIFF’S FIRST AMENDED PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Plaintiff Binh Hoa Le (“Plaintiff” or “Le”), and files this Plaintiff’s

First Amended Petition (the “Petition”), complaining of Defendants Exeter Finance Corp.

(“Exeter”) and Enzo Parent, LLC (“Enzo,” collectively with Exeter, the “Defendants”); and in

support thereof would show the Court as follows:

                                         I.
                              DISCOVERY CONTROL PLAN

       1.      Pursuant to TEXAS RULE       OF   CIVIL PROCEDURE 190.3, Plaintiff intends that

discovery be conducted in this lawsuit under Level 2.

                                           II.
                                  RULE 47 DISCLOSURE

       2.      Pursuant to TEXAS RULE      OF   CIVIL PROCEDURE 47(c), Plaintiff states that he is

seeking monetary relief over $1,000,000.




PLAINTIFF’S FIRST AMENDED PETITION                                                           PAGE 1
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                                             III.
                                           PARTIES

        3.      Plaintiff BINH HOA LE is an individual, who resided in Tarrant County at the

time the causes of action accrued, and who may be served with process through the undersigned

counsel.

        4.      Defendant EXETER FINANCE CORP. is a Texas for-profit corporation, with

its principal office located in Dallas County, Texas at 222 W. Las Colinas Blvd. Suite 1800,

Irving, Texas 75039, and which may be served by and through its registered agent, Walter E.

Evans, located at the same address.

        5.      Defendant ENZO PARENT, LLC is a foreign (DE) limited liability company,

not registered to transact business in the State of Texas through the Texas Secretary of State.

Defendant Enzo may be served with process by and through its registered agent, The

Corporation Trust Company, Corporation Trust Center, 1209 Orange Street, Wilmington, DE

19801, or by and through its president, Tom Anderson, at 222 W. Las Colinas Blvd. Suite 1800,

Irving, Texas 75039.

                                            IV.
                                  JURISDICTION AND VENUE

        6.      The Court has jurisdiction in this case because the damages sought are within the

jurisdictional limits of the Court.

        7.      Venue is proper in Dallas County, pursuant to TEX. CIV. PRAC. & REM. CODE §

15.002(a)(1), because it is the county in which all or a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred. Venue is also proper in Dallas County,

pursuant to TEX. CIV. PRAC. & REM. CODE § 15.002(a)(3), because it is the county of Defendant

Exeter’s principal office in this state.



PLAINTIFF’S FIRST AMENDED PETITION                                                          PAGE 2
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                                            V.
                                 BRIEF FACTUAL SUMMARY

       8.      Exeter induced Plaintiff to join its organization based on a series of false

promises and misrepresentations.       Exeter bestowed upon Plaintiff a certain compensation

package, as well as the title of EVP and Chief Human Resources Officer. But upon Exeter’s

change of CEO, Plaintiff’s role in the organization shifted. Whereas before Plaintiff was

building out the HR infrastructure and growing the company, new management shifted that

focus and directed Plaintiff to circumvent and break employment and regulatory laws. When

Plaintiff refused to do so, Exeter fired Plaintiff. Now, Exeter and its parent company refuse to

honor their financial obligations to Plaintiff.

                                           VI.
                                  FACTUAL BACKGROUND

       9.      Defendant Exeter is a subprime auto lender that buys loans from more than

10,000 franchised U.S. dealerships. Exeter, formed in April 2006, engages in the purchasing,

securitization and servicing of nonprime consumer automobile installment sale contracts. The

Blackstone Group L.P. (“Blackstone”), a multinational private equity, investment banking, and

alternative asset investment group headquartered in New York, New York, purchased Exeter in

August 2011, making Exeter one of its portfolio companies. Upon information and belief,

Defendant Enzo is the parent holding company of Exeter.

       10.     In or around June 2013, Exeter recruited Plaintiff to serve as the head of its

Human Resources department with the title of Chief Human Resources Officer (CHRO). In

doing so, Exeter made a series of misrepresentations and false promises to Plaintiff, which he

relied upon in deciding to join the organization.        As detailed more fully below, such

misrepresentations included representations about the financial stability of the company, as well



PLAINTIFF’S FIRST AMENDED PETITION                                                          PAGE 3
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as the compensation structure (and upside) available to Plaintiff through Exeter’s profits interest

equity program.

       11.     Exeter initially contacted Le through an executive recruiting service. However,

Exeter’s ultimate decision-maker, its Chief Executive Officer (CEO), conducted Plaintiff’s

interviews and ultimately extended Plaintiff’s offer. During those meetings, Exeter’s CEO

presented Plaintiff with an offer, which included a base salary, signing bonus, and annual target

bonus, among other things. Plaintiff initially hesitated to accept the offer, given the significant

risks of joining a start-up company with an unproven track record.           However, the CEO

represented to Plaintiff that he would be sufficiently protected from any downside in the form of

a “standard 18-month severance” package. The offer was memorialized in a July 25, 2013

agreement, executed by the CEO and Plaintiff (the “Employment Agreement”).                     The

Employment Agreement also provided Plaintiff with the following compensation package:

   •   “Profits interest units in the parent company of Exeter Finance Corp., reserved for
       Executive Team Members, subject to vesting, performance and other terms and
       conditions set forth in a management profits interest unit agreement.

   •   As a Key Employee, you will qualify for a Severance and Non-compete Agreement that
       pays, subject to certain terms and conditions, an aggregate amount equal to 150% of the
       base salary and bonus paid to the Key Employee during the one-year period immediately
       preceding termination without cause.”

       12.     This “standard severance and non-compete agreement” provided that so long as

Plaintiff was not terminated for “cause,” Exeter would pay Plaintiff “150% of [his] last 12

months’ salary plus bonus payable over 18 months.”

       13.     As to the “profits interest units,” the CEO presented Plaintiff with a spreadsheet

indicating the projected value of said units “given certain exit valuations.” The CEO reinforced

and reiterated to Le that the company was on track to meet certain financial targets, and he

projected that Plaintiff, as CHRO, would be entitled to profits interest units worth $5,013,517,

PLAINTIFF’S FIRST AMENDED PETITION                                                            PAGE 4
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at such time. Exeter’s General Counsel also forwarded to Plaintiff a “summary” of the profits

interest units program. Based on these representations, among others, Plaintiff executed the

Employment Agreement and walked away from a multi-million dollar equity plan with his prior

employer.

       14.     On August 1, 2013, Plaintiff began his employment with Exeter as CHRO. After

several months of employment, in or around October 2013, Exeter presented Plaintiff with a

certain severance, non-solicitation, non-competition and release agreement (the “Severance

Agreement”). The Severance Agreement contained many provisions not previously disclosed to

Plaintiff, including, but not limited to, a non-solicitation clause, an arbitration clause, and a

release clause. The Severance Agreement also arguably contemplated a release of Plaintiff’s

claim to any profits interest units; profits interest units that still had not been properly explained

to Plaintiff. Given these new, troubling provisions, Plaintiff approached Exeter’s CEO and

General Counsel and expressed his concerns with the additional restrictions proposed by the

Severance Agreement. As such, Plaintiff refused to execute the Severance Agreement and

advised Exeter of the same. Exeter took no actions against Plaintiff on account of his refusal to

sign the new proposed agreement. As such, Plaintiff continued to work for Exeter under the

terms of the original Employment Agreement provided to him on or about July 25, 2013.

       15.     In or about May 2014, Enzo and Plaintiff also entered into a certain Management

Profits Interest Unit Agreement (the “Profits Interest Agreement”).            The Profits Interest

Agreement granted Plaintiff certain profits interest units (equaling 6% of the total profits

interest units in Enzo), and provided Plaintiff with certain rights regarding the vesting of such

units. Despite multiple requests by Plaintiff for clarity on the metrics/valuation of the profits

interest units, Exeter and Blackstone refused to provide any financial details that could be used



PLAINTIFF’S FIRST AMENDED PETITION                                                               PAGE 5
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to calculate the fair market value of such units. But the requests for clarity did not stop with

Plaintiff. Upon information and belief, the same requests began to stream in from over one

hundred (100) officers, who were also promised a share of the profits interest pool. Upon

information and belief, Exeter’s CEO committed shares to these individuals during a leadership

summit in November 2011 as part of a motivation and retention strategy. Regrettably, upon

information and belief, Exeter and Blackstone never intended to honor these commitments.

       16.       Against this backdrop, in October 2014, Exeter underwent a management

overhaul, replacing its CEO with a new CEO (the “New CEO”). Almost immediately after the

New CEO’s hiring, complaints began flooding into the Human Resources Department alleging

unethical, inappropriate and/or illegal conduct of the New CEO and his newly hired Chief of

Staff (“CoS”). Such complaints, included, but were not limited to, the following:

             •   Monitoring of employee email accounts and instant messaging without
                 legitimate business purposes, including tapping into Human Resources (HR)
                 email boxes containing private healthcare and medical records for employees;

             •   Empowering the CoS to sift through confidential recycling bins for the purpose
                 of justifying improper termination actions;

             •   Instructing HR to misapply the company’s finances for purposes of calculating
                 employee bonuses, including, but not limited to, calculating bonus payments
                 outside of clearly documented plan terms and conditions and moving eligible
                 earnings from 2015 to 2014 and from 2014 to 2013, thereby inflating bonus
                 payments for the New CEO and CoS;

             •   Failing to adhere to company policy regarding termination of employees;

             •   Using intimidation tactics to terminate executives without cause and
                 intentionally violating employment contracts by refusing to pay agreed upon
                 severance;

             •   Terminating an executive through purported “restructuring” but in actuality,
                 freeing the space so that an unqualified CoS could take the same role;

             •   Mishandling severance agreements and failing to honor plan document terms and
                 conditions for a multitude of other terminated personnel;

PLAINTIFF’S FIRST AMENDED PETITION                                                         PAGE 6
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             •   Terminating a high performing employee because the New CEO and CoS did not
                 like “the way she dressed;”

             •   New CEO maintaining an inappropriate relationship with a staff member and
                 providing “over the top” preferential treatment for a direct report;

             •   New CEO ignoring claims brought forward against the CoS for creating a hostile
                 work environment;

             •   Making unsupported, factually inaccurate accusations to purposely create
                 divisions across departments;

             •   Accelerating the reduction in force (RIF) for hundreds of employees without
                 proper notification and denying the payment of severance and bonuses to others
                 in contradiction to plan documents and contrary to verbal and written
                 representations made to said employees;

             •   Knowingly misclassifying over one hundred (100) underwriters for years and
                 using the RIF process to eliminate the roles in an attempt to make the “issue go
                 away”; and

             •   Retracting the commitment made to over one hundred (100) officers that they are
                 eligible participants in the profits interest pool, among others.

       17.       Further, Exeter’s New CEO instructed HR to use former employees’ confidential

information (social security, birth date, home address, etc.) to tap into outside networks to

determine when and where those individuals went to work after leaving Exeter. The New CEO

also instructed HR to terminate a former employee’s wife for retaliatory purposes because her

husband went to work for a competitor, and he instructed HR to skip the standard reduction in

force legal review process so employees could be targeted for termination arbitrarily without

documentation of the actions taken.

       18.       Against this backdrop, in January 2015, the New CEO further reinforced to

Plaintiff that he was a key contributor to Exeter. The New CEO represented that Exeter’s Board

of Directors had approved a retention bonus for Plaintiff and a special long-term incentive



PLAINTIFF’S FIRST AMENDED PETITION                                                          PAGE 7
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equity grant would be awarded to him and only a few other “critical talents” across the

company.

       19.     Meanwhile, Plaintiff escalated his concerns to Exeter and Blackstone. But to

Plaintiff’s utter shock and surprise, upon information and belief, these egregious behaviors were

not only condoned, they were encouraged by Blackstone and Exeter’s Board of Directors.

       20.     Plaintiff continued to escalate the complaints to the proper authorities, including

the Texas Workforce Commission (“TWC”) and the Equal Employment Opportunity

Commission (“EEOC”). Plaintiff also continued to investigate the claims of improper actions

by Exeter employees. In fact, between November 1, 2014 and February 23, 2015, Plaintiff

expressed his opposition to these actions to both, the New CEO, as well as Exeter’s General

Counsel, among others.     Specifically, Plaintiff opposed any actions taken by Exeter against

other employees in violation of the TEXAS LABOR CODE, among other violations.

       21.     On or about February 23, 2015, Exeter terminated Plaintiff’s employment out of

retaliation for raising concerns about the unethical and illegal treatment of employees. The New

CEO personally delivered the message, with General Counsel present, and advised Plaintiff that

the termination was not for cause, but instead due to “philosophical differences” between

Plaintiff and himself. The New CEO then offered Plaintiff a proposed separation agreement

and release, but it contained terms wholly inconsistent with those provided in the Employment

Agreement.    Specifically, the severance proposal was limited to a 9.39 weeks’ salary (as

opposed to 150% of Plaintiff’s base salary plus bonuses paid during the preceding year).

Exeter also refused to pay Plaintiff’s 2014 bonus, which was earned by Plaintiff and was

scheduled to be paid by March 15, 2015. In addition, the severance agreement proposed a full




PLAINTIFF’S FIRST AMENDED PETITION                                                           PAGE 8
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release of any claims Plaintiff would have regarding his profits interest units. Given these

offensive terms, Plaintiff refused to sign the proposed separation agreement and release.

          22.   On March 10, 2015, Plaintiff received a correspondence from the New CEO, in

his capacity as President and CEO of Enzo, purporting to provide Plaintiff with a “Call Notice

for Certain Earned Profits Interest Units” (the “Notice”). The Notice states that Enzo “hereby

exercises its Call Option to purchase 140,452 of the Time-Base Profits Interest units held by

[Plaintiff]…which [] constitute all of the Earned Profits Interest Units held by you.” Enzo then

represented that the “fair market value of the Called Units…is $0.00.” The Notice directly

violates the terms of the Profits Interest Agreement, as to the determination of fair market value

of the units.

          23.   On June 10, 2015, Plaintiff filed a charge of discrimination with the TWC and

the EEOC on account of the unlawful retaliation as a result of his opposition to the

discriminatory and retaliatory actions set forth above. On September 28, 2015, the EEOC

issued its “Notice of Right to Sue.” This action is being commenced within sixty (60) days of

receiving that notice.

                                          VII.
                                    CAUSES OF ACTION

                               COUNT 1: BREACH OF CONTRACT

          24.   Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          25.   The agreements between Plaintiff and Defendants constitute valid and

enforceable agreements in this case. Plaintiff is a proper party to sue for a breach of the

agreements. Plaintiff performed, tendered performance of, or was excused from performing his




PLAINTIFF’S FIRST AMENDED PETITION                                                           PAGE 9
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contractual obligations. Defendants breached the agreements and Defendants’ breaches caused

Plaintiff’s injury.

COUNT 2: FRAUD, FRAUD IN THE INDUCEMENT, FRAUD BY NON-DISCLOSURE, AND FRAUD BY
                                   OMISSION

          26.    Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          27.    By reason of Plaintiff’s reliance on the representations and fraudulent

concealment of material facts by Defendants, Plaintiff has been damaged in an amount within

the jurisdictional limits of this Honorable Court. In connection with inducing Plaintiff to

provide valuable services to them, Defendants employed a scheme and common course of

conduct to defraud Plaintiff. The misrepresentations and concealment of facts set forth herein

were material.

          28.    Defendants knew the misrepresentations and concealment of facts set forth

herein were false. Alternatively, Defendants acted with reckless disregard as to whether the

representations set forth herein were true. Defendants misrepresented and concealed facts as set

forth herein with the intent to induce Plaintiff to enter various agreements, including, but not

limited to, the Employment Agreement and the Profits Interest Agreement.              Defendants

misrepresented and concealed facts as set forth herein with the intent of gaining their own

financial advantage to the disadvantage of Plaintiff. Plaintiff relied upon the misrepresentations

and concealment of facts set forth as herein. Plaintiff’s reliance on these representations and

concealment of facts was reasonable and justifiable.

          29.    Plaintiff has suffered and continues to suffer economic and non-economic losses

because of the wrongful conduct of Defendants. The amount of such losses will be determined

according to proof at trial. On information and belief, the wrongful acts of Defendants, as set


PLAINTIFF’S FIRST AMENDED PETITION                                                          PAGE 10
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forth in this Count, were done maliciously, oppressively, and with the intent to mislead and

defraud, and Plaintiff is entitled to punitive and exemplary damages to be ascertained according

to proof, which is appropriate to punish and set an example of Defendants. Accordingly,

Plaintiff respectfully requests that exemplary damages be awarded against Defendants in a sum

within the jurisdictional limits of this Honorable Court.

COUNT 3: QUANTUM MERUIT/UNJUST ENRICHMENT/RESTITUTION/MONEY COUNTS/MONEY
                            HAD AND RECEIVED

          30.    Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          31.    Defendants unjustly received benefits at the expense of Plaintiff through their

wrongful conduct. Defendants continue to unjustly retain these benefits at the expense of

Plaintiff. It would be unjust for Defendants to retain any value they obtained as a result of their

wrongful conduct. Plaintiff is entitled to full restitution of all amounts in which Defendants

have been unjustly enriched at Plaintiff’s expense.

                 COUNT 4: VIOLATIONS OF CHAPTER 21 OF TEXAS LABOR CODE

          32.    Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          33.    Plaintiff has satisfied all jurisdictional prerequisites in connection with his claim

under the Texas Commission on Human Rights Act (“TCHRA”), Tex. Lab. Code Ann. §§

21.001 et seq.

          34.    Plaintiff is an “employee” as defined by the TCHRA in Tex. Lab. Code Ann. §§

21.002(7).

          35.    Exeter is an “employer” as defined by the TCHRA in Tex. Lab. Code Ann. §§

21.002(8).


PLAINTIFF’S FIRST AMENDED PETITION                                                              PAGE 11
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          36.   Exeter violated the TCHRA and committed an unlawful employment practice

under Tex. Lab. Code Ann. § 21.055 by retaliating and/or discriminating against Plaintiff for

opposing a discriminatory practice conducted by Exeter.           Exeter committed an unlawful

employment practice under Tex. Lab. Code Ann. § 21.051 by discharging and/or discriminating

against individuals because of race, color, disability, religion, sex, national origin and/or age of

the employees. Plaintiff opposed such actions and Exeter terminated Plaintiff due to such

opposition.

          37.   Exeter further violated the TCHRA and committed an unlawful employment

practice under Tex. Lab. Code Ann. § 21.058 by willfully obstructing and/or preventing

Plaintiff, Exeter’s former Chief HR Officer, from complying with the TCHRA.

          38.   As a result of these unlawful employment practices, Plaintiff is entitled to

compensatory damages, including, but not limited to, back pay and interest on back pay, as well

as punitive damages, as Plaintiff will show that Exeter acted with malice or with reckless

indifference to the state-protected rights of the aggrieved individual. See Tex. Lab. Code Ann.

§ 21.2585. Plaintiff is also entitled to reasonable attorneys’ fees and costs under Tex. Lab.

Code Ann. § 21.259.

                                         VIII.
                                  EXEMPLARY DAMAGES

          39.   Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          40.   Defendants’ acts complained of herein were committed knowingly, willfully,

intentionally, with actual awareness, or with actual malice. In order to punish Defendants for

such unconscionable overreaching and to deter such actions and/or omissions in the future,




PLAINTIFF’S FIRST AMENDED PETITION                                                            PAGE 12
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Plaintiff seeks recovery against Defendants for exemplary damages as provided by Chapter 41

of the TEXAS CIVIL PRACTICE AND REMEDIES CODE as well as Tex. Lab. Code Ann. § 21.2585.

                                           IX.
                                     ATTORNEYS’ FEES

       41.     Plaintiff readopts and realleges the allegations above and incorporates the same

herein. Plaintiff is entitled to recover reasonable and necessary attorneys’ fees, including but

not limited to recovery of attorneys’ fees under TEX. CIV. PRAC. & REM. CODE § 38.001 and

Tex. Lab. Code Ann. § 21.259.

                                             X.
                                          INTEREST

       42.     Plaintiff seeks to recover pre-judgment and post-judgment interest at the

maximum legal rate.

                                         XI.
                                CONDITIONS PRECEDENT

       43.     Pursuant to TEXAS RULE     OF   CIVIL PROCEDURE 54, all conditions precedent to

Plaintiff’s claims for relief have been performed or have occurred.

                                         XII.
                               REQUEST FOR DISCLOSURE

       44.     Pursuant to Rule 194 of the TEXAS RULES OF CIVIL PROCEDURE, Plaintiff hereby

requests that Defendants disclose the information or material described in Rule 194.2(a)–(l),

within the time allotted by the TEXAS RULES OF CIVIL PROCEDURE. Said information or material

shall be produced at the law offices of McCathern, PLLC, 3710 Rawlins Street, Suite 1600,

Dallas, Texas 75219.




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                                               PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that upon

final hearing, the Court enter judgment against Defendants in the amounts set forth above,

including, but not limited to the following:

   (a) Actual damages in the amount determined to have been sustained by Plaintiff;

   (b) Costs and expenses of this lawsuit, including reasonable attorneys’ fees incurred by

       Plaintiff in prosecuting this action;

   (c) Exemplary damages as required by law;

   (d) Pre-judgment and post-judgment interest on all monetary relief sought herein at the

       highest rates allowed by law; and,

   (e) Such other and further relief, both at law and in equity, to which Plaintiff may be justly

       entitled.




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Date: October 16, 2015

                                         Respectfully submitted,

                                         MCCATHERN, P.L.L.C.




                                         By:/s/ Levi G. McCathern___________
                                                 Levi G. McCathern
                                                 State Bar No. 00787990
                                                 lmccathern@mccathernlaw.com
                                                 Matthew S. Muckleroy
                                                 State Bar No. 24066796
                                                 mmuckleroy@mccathernlaw.com

                                                Regency Plaza
                                                3710 Rawlins, Suite 1600
                                                Dallas, Texas 75219
                                                Telephone: 214.741.2662
                                                Facsimile: 214.741.4717

                                         ATTORNEYS FOR PLAINTIFF




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                                                                                                           FILED
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  Case 3:15-cv-03839-L Document 1-1 Filed 12/01/15              Page 28 of 60 PageID     32       FELICIA PITRE
                                                                                                DISTRICT CLERK
                                                                   Dianne Coffey
                                CAUSE NO. DC-lS-121S1


BINHHOALE,                                  §           IN THE DISTRICT COURT
                                            §
                                            §
      Plaintiff,                            §
                                            §
Vs.                                         §
                                            §           191 5 ( DISTRICT COURT
EXETER FINANCE CORP, and ENZO               §
PARENT, L.L.c.,                             §
                                            §
                                            §
      Defendant(s}.                         §           DALLAS COUNTY, TEXAS


                                 AFFIDAVIT OF SERVICE


I, Kevin Christian Gowins, having been first duly sworn do state the following that:

       I am over the age of eighteen years and have no interest in the outcome of the above
referenced cause.

       All of the facts stated herein are true and correct.

        On October 12, 2015, at 1:44 p.m., I received a Citation with Plaintiff's Original
Petition and Plaintiff's First Requests for Production to Defendants to be delivered to Exeter
Finance Corp by serving its registered agent Walter E. Evans 222 W. Las Colinas Blvd Suite
1800 Irving, Texas 75039.

       On October 13, 2015, at 10:43 a.m., the above-referenced documents were delivered
to Exeter Finance Corp c/o Walter E. Evans it {egistered agent 222 W. Las Colinas Blvd Suite
1800, Texas 75039, personally

       Further Affiant saith   not.Q>L"~rc"·"·;'IIJL<rv--
                                        Kevin Christian Gowins SCH0000005899
                                        EXPIRES: October 31, 2015

Signed and sworn to by the said Kevin Christian Gowins before me this 13th day of October,
201    0   certify which ~it~~~.7 seal of office.



Notary Public in and for the State of Texas
My commiS~iO~!ir~77AUgUst 20th , ~/, _               )
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                                                                                                                                                           FELICIA PITRE
                                                                                                                                                         DISTRICT CLERK


      FORM NO. 353-3 - CITATION                                                                                                    ATTY
      THE STATE OF TEXAS
                                                                                                                           CITATION
      To:
              ENZO PARENT LLC
              BY SERVING ITS REGISTERED AGENT THE CORPORATION TRUST COMPANY
              CORPORATION TRUST CENTER                                                                                     DC-IS-12IS1
              1209 ORANGE STREET
              WILMINGTON DE 19801
                                                                                                                              BINHHOALE
       GREETINGS:
                                                                                                                                      VS.
       You have been sued. You may employ an attorney. If you or your attorney do not file a written
       answer wjth the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the
                                                                                                                      EXETER FINANCE CORP, et al
     . expiration of twenty days after you were served this citation and petition, a default judgment may be
       taken against you. Your answer should be addressed to the .
       clerk of the 1918t District Court at 600 Commerce Street, Ste. 101, Dallas, Texas 75202.                               ISSUED THIS
                                                                                                                         8th day of October, 2015
      Said Plaintiff being BINH HOA I.E
                                                                                                                            FELICIA PITRE
      Filed in said Court 2nd day of October, 2015 against                                                                Clerk District Courts,
                                                                                                                          Dallas County, Texas
      EXETER FINANCE CORP. AND ENZO PARENT LLC

      For Suit, said suit being numbered DC-IS-I2ISI, the nature of which demand is as follows:                          By: ALTHA MILES, Deputy
      Suit on OTHER (CIVIL) etc. as shown on said petition REQ FOR DISCLOSURE,
      a copy of which accompanies this citation. If this citation is not served, it shall be returned
      unexecuted.
                                                                                                                        Attorney for Plaintiff
      WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                                    MATTHEW S. MUCKLEROY
      Given under my hand and the Seal of said Court at office this 8th day of October, 2015.                             REGENCY PLAZA
                                                                                                                            3710 RAWLINS
      ATTEST: FELICIA PITRE, Clerk"ofthe District Courts of Dallas, County, Texas                                             SUITE 1600
                                                                                                                            DALLAS TX 75219
                               By,   ~¥~mEty               '1.,   v   v                                                        214-741-2662



                                                                                                                 DALLAS COUNTY C       LE
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                                                                         OFFICER'S RETURN
Case No. : DC-15-12151

Court No.191 st District Court

Style: BINH HOA LE

vs.
EXETER FINANCE CORP, et . 1



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each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was                 miles and my fees are as foHows: To certify which witness my hand.



                                 For serving Citation          $ , - --                    ~~
                                 For mileage                   $_--                           Of~ County, ~aJ-I..~
                                 For Notary                    $ , - --                       By "1:>co-hlG\\'3~ ~                                          ~
                                                                 (Must be verified if served outside .the ftatf of Texas.)

Signed and sworn to by the said     ::!xl h lei I~                 before me   this~day of cx:...\'Z:l\;::QY                     , 20'\5
to certify which witness my hand and seal of office.

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                                                                                                          DISTRICT CLERK




                                                CAUSE NO. DC-IS-12IS1


BINHHOALE,                                                         §           IN THE DISTRICT COURT
                                                                   §
          Plaintiff,                                               §
                                                                   §
vs.                                                                §
                                                                   §           191 5( JUDICIAL DISTRICT
                                                                   §
EXETER FINANCE CORP. and ENZO                                      §
PARENT, LLC,                                                       §
                                                                   §
          Defendants.                                              §          DALLAS COUNTY, TEXAS




              DEFENDANTS' SPECIAL EXCEPTIONS AND ORIGINAL ANSWER


TO THE HONORABLE JUDGE OF SAID COURT:

          COME NOW, Exeter Finance Corp. and Enzo Parent, LLC, (hereinafter collectively

"Defendants"), Defendants in the above-styled and numbered cause (hereinafter this "Action") and

pursuant to the Texas Rules of Civil Procedures (hereinafter the "Rules") files this response to

Plaintiff s Original Petition and in response to Plaintiff s First Amended Petition filed by Binh Hoa

Le (hereinafter "You" or "Plaintiff') and would show the Court as follows:




                                                I. SPECIAL EXCEPTIONS

      1. Special exception is made to the allegations contained in Paragraph 2 of Plaintiffs First

Amended Petition, which states:

          "Plaintiff seeks monetary relief of over $1,000,000.00."




DEFENDANTS' SPECIAL EXCEPTIONS AND ORIGINAL ANSWER                                              Page 1
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     2. Objection is made to this pleading because it is vague and general and does not specifY the

maximum amount of damages sought in this Action--as required by the Rules.

     3. Special exception is made to the allegations contained in Paragraph 8 of Plaintiffs First

Amended Petition, which states:

              "Exeter induced Plaintiff to join its organization based on a series offalse promises
and misrepresentations."


     4. Objection is made to this pleading because it is vague, overly broad and general and does not

sufficiently identifY the facts and basis supporting Plaintiffs allegations and the pleadings. Further,

it does not specifY the alleged false promises and misrepresentations. On its face, the Petition does

not describe with sufficient particularity the facts and circumstances supporting the allegations made

in this portion of the Petition. Plaintiff should be required to give specifics of the alleged false

promises and misrepresentations.

     5. Therefore, the Petition should be amended to correct this defect. Request is made that this

Court set this Special Exception for hearing and upon hearing, the Court enter an Order requiring the

Petition to be repled within a reasonable time in conformity with the Court's ruling and that these

pleadings be dismissed if not timely and properly repled.

     6. Special exception is made to the allegations contained in Paragraph 10 of Plaintiffs First

Amended Petition, which states:

                "In doing so, Exeter made a series of misrepresentations and false promises to
Plaintiff, which he relied upon in deciding to join the organization."


     7. Objection is made to this pleading because it is vague, overly broad and general and does not

sufficiently identifY the facts and basis supporting Plaintiffs allegations and the pleadings. Further,

it does not specifY the alleged series of false promises and misrepresentations. On its face, the


DEFENDANTS' SPECIAL EXCEPTIONS AND ORIGINAL ANSWER                                             Page 2
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Petition does not describe with sufficient particularity the facts and circumstances supporting the

allegations made in this portion of the Petition.

     8. Therefore, the Petition should be amended to correct this defect. Request is made that this

Court set this Special Exception for hearing and upon hearing, the Court enter an Order requiring the

Petition to be repled within a reasonable time in conformity with the Court's ruling and that these

pleadings be dismissed if not timely and properly repled.

     9. Special exception is made to the allegations contained in Paragraph 15 of Plaintiffs First

Amended Petition, which states:

              "Upon information and belief, the same requests began to stream in from over one
hundred (100 officers, who were also promised a share of the profits interest pool."


     10. Objection is made to this pleading because it is vague, overly broad and general and does not

sufficiently identify the facts and basis supporting Plaintiffs allegations and the pleadings. Further,

it does not specify who made these alleged requests. On its face, the Petition does not describe with

sufficient particularity the facts and circumstances supporting the allegations made in this portion of

the Petition. Plaintiff should Identify the individuals who allegedly made these requests.

     11. Therefore, the Petition should be amended to correct this defect. Request is made that this

Court set this Special Exception for hearing and upon hearing, the Court enter an Order requiring the

Petition to be repled within a reasonable time in conformity with the Court's ruling and that these

pleadings be dismissed if not timely and properly repled.




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       12. Special exception is made to the allegations contained in Paragraph 43 of Plaintiffs First

Amended Petition, which states that: " ... all conditions precedent to Plaintiff s claims forreliefhave

been performed or have occurred."


       13. Objection is made to this pleading because it is vague overly broad and general and does not

sufficiently identifY the facts and basis supporting Plaintiff s allegations and the pleadings. Further,

it does not specifY which conditions precedent have been performed or have occurred. And, it fails

to specifY how You satisfied said conditions precedent. On its face, the Petition does not describe

with sufficient particularity the facts and circumstances supporting the allegations made in this

portion of the Petition.




                                                        ORIGINAL ANSWER

       14. Defendants deny each and every, all and singular, of the allegations in Your Original Petition

and Your First Amended Petition and demand strict proof thereof.


                                                                DEFENSES

       15. Answering further, Your negligence solely caused, or contributed to cause, the incident made

the basis of this suit and any damages sustained thereby. This is plead in bar or reduction, as

appropriate, of Your damages, ifany. See V.A.T.S., Civil Practice and Remedies Code 833.001, et

seq.

       16. Your injuries, if any, were pre-existing and not caused by any act or omission of Defendants.

       17. Defendants assert that they are entitled to a setoff or credit for any amounts received by

Plaintiff or to be received by Plaintiff from any other source whatsoever with respect to any recovery



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of such Plaintiff arising out of any claims and/or allegations asserted by any Plaintiff against any

other person or party. Such would include but not be limited to any settlement and/or compromise

and/or any damages paid as a result of bankruptcy and/or other litigation.

     18. In the alternative, Defendants adopt by reference each defense not hereinabove alleged, if

any, that may be alleged in any pleading by any other defendant or third-party defendant to this

lawsuit, heretofore or hereafter filed.


                                                    STATUTORY CAPS

     19. Liability for any punitive and mental anguish damages You seek in this Action are

capped.

     20. The affirmative defense of statutory caps is pled. If You can somehow recover on Your for

discrimination, harassment and/or retaliation claims, Your damages, if any, are statutorily capped as

provided in Title VII of the U.S. Code and/or Section 21.2585 of the Texas Labor Code, Section

41.008 of the Texas Civil Practice and Remedies Code and any other applicable laws and statutes.

     21. The affirmative defense of statutory caps on punitive damages is pled. Even if You can

somehow recover punitive damages, such damages, if any, are statutorily capped as provided in Title

VII of the U.S. Code and/or Section 41.008 of the Texas Civil Practice and Remedies Code and

Section 21.2585 of the Texas Labor Code and/or other laws and statutes.




                                  SPECIFIC DEFENSES TO PUNITIVE DAMAGES

     22. As a further defense, Defendants plead the following defenses to Plaintiff claims for

          punitive damages:




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                     Unconstitutional. Even as limited by 841.007, Texas Practice and Remedies Code or

other applicable legal principal oflaw, punitive damages as structured in Texas are unconstitutional.

          violating the Fifth and Fourteenth Amendments to the United States Constitution, in seeking
          to deprive Defendant of due process or due course of law;

          violating the Eighth Amendment to the United States Constitution, by seeking to impose
          what is, or what in effect is, an excessive fine;

          violating Article 1, Sections 13 and 19 of the Texas Constitution, in seeking to deprive
          Defendant of due process or due course of law;

          violating the Fourteenth Amendment to the United States Constitution, in seeking to deny
          Defendant equal protection of the laws of the United States;

          violating Article 1, Section 3 of the Texas Constitution, in seeking to deny Defendant equal
          rights ofthe State of Texas.

          Lack of Notice. The punitive damages provisions of Texas law fail to provide notice of

proper standards whereby a defendant is advised that by failing to exercise ordinary care, unknown

parties at a later date may deprive the defendant of unspecified, non-compensatory damages at mere

discretion, without guidance of proper standards.

          Standard. Alternatively, any non-compensatory, punitive damages, if awarded at all, should

be based upon improper, knowing conduct proved by evidence meeting a clear and convincing

standard of proof, beyond a reasonable doubt, or some such similar standard above the present low

preponderance of the evidence standard for assessing negligence and compensatory damages. There

is an absence of even basic protection normally given even the most heinous criminal.

          No proper function. Punitive damages do not serve any function now appropriate in the

context ofa case for civil damages, in that Texas law provides full compensatory damages for every

element for which a party is entitled.




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           Windfall. Punitive damages are just that, punishment damages. The criminal law of the

State of Texas provides the appropriate function to punish any wrongful conduct, and no purpose is

served by removing punishment damages from benefitting the entire State of Texas and giving it as a

windfall to a plaintiff and the plaintiffs attorney.

           No intentional, malicious and conscious misconduct. Punitive damages should not be

awarded against Defendants without a finding of intentional, malicious and conscious misconduct;

and clearly, in this case, these defendants under all the evidence are not guilty of intentional,

malicious and conscious misconduct.


                                                   AFFIRMATIVE DEFENSES

           The following affirmative defenses are pled, in the alternative, to the extent necessary:

           1.       The affirmative defense of accord and satisfaction is pled. Your claims are barred, in

whole or part, by an accord and satisfaction.

           2.       The affirmative defense of assumption of risk is pled. Your claims are barred, in

whole or part, by the assumption of risk.

           3.       The affirmative defense offailure of consideration is pled. Your claims are barred, in

whole or part, by the failure of consideration.

           4.       The affirmative defense of contributory negligence is pled. Your claims are barred, in

whole or part, by Your contributory negligence.

           5.       The affirmative defense of laches, waiver and estoppel is pled. Your claims are

barred, in whole or part, by the doctrines of laches, estoppel andlor waiver.

           6.       The affirmative defense oflicense is pled. Your claims are barred, in whole or part, by

license.



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          7.         The affirmative defense of unclean hands is pled. Your claims are barred, in whole or

part, by unclean hands.

          8.         The affirmative defense of failure to mitigate is pled. You are not entitled to recover

damages, if any, because You failed to mitigate Your damages.

          9.         The affirmative defense of the parole evidence rule is pled as barring Your claim and

any evidence of alleged representations made other than those contained in the contract(s) at issue in

this Action. Your claims are barred, in whole or part, by the statute of frauds.

          10.        The affirmative defense of ratification is pled. Your claims are barred, in whole or

part, by ratification.

          11.       The affirmative defense of the statute of frauds is pled. Your claims are barred, in

whole or part, by the statute of frauds.

          12.        The affirmative defense of statute of limitations is pled. Your claims are barred, in

whole or part, by all applicable statute of limitations.

          13.        The affirmative defense offailure to exhaust administrative remedies is pled. You are

not entitled to recover damages, if any, because You have failed to exhaust Your administrative

remedies.

          14.        The affirmative defense provided for in Faragher is pled. You cannot recover as

alleged because Defendants are entitled to the affirmative defense that it had a policy in place to

prevent or correct harassment, discrimination, retaliation and Plaintiff unreasonably failed to take

advantage of it, pursuant to the holdings of the United States Supreme Court in Faragher v. City of

Boca Raton and Burlington Industries, Inc. v. Ellerth.




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          15.       The affirmative defense of any other matter constituting an avoidance or an

affirmative defense is pled. Your claims are barred, in whole or part, by avoidance, or another

affirmative defense.




                                                    REQUEST FQR LEVEL III

          16.       Discovery should be conducted under Level III pursuant to Texas Rule of Civil

Procedure 190.4 and a Motion is hereby made for entry of a Level III Scheduling Order.




                                                         RIGHT TO AMEND

           17.. The right to further amend and/or supplement this pleading at a future date is

reserved.


                                                            JURY DEMAND

           18.      Demand for a jury trial of this case is made, and has on this day the jury fee has been

or will be tendered to the Clerk of this Court.


                                                       REPORTER DEMAND

           19.      Demand for an Official Court Reporter for this Court, perform all the duties of the

office, as set forth in Section 52.046 of the Government Code of the State of Texas, and as set forth

in Rule 13 of the Rules of Appellate Procedure, is demanded including reporting all testimony and

trial proceedings, voir dire examinations and jury arguments.




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                                                            PRAYER

          WHEREFORE, PREMISES CONSIDERED, prayer is made that these Special Exceptions be

set for hearing and that upon hearing, the Court enter an Order sustaining the Special Exceptions and

Order the Petition to be repled within a reasonable time in conformity with this Court's ruling and

those pleadings dismissed if not properly repled, further prayer is made that You take nothing by way

of this Action and that Defendants recover attorneys' fees, costs and receive such other and further

relief, at law or in equity against You, and such other and further relief, at law or in equity, to which

Defendants may be justly entitled.



                                                              Respectfully submitted,




                                                              R. ROGGE DUNN
                                                              State Bar No. 06249500

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                                                              ATTORNEYS FOR DEFENDANTS




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          The foregoing Special Exceptions have been set for hearing in the Courtroom on the _ _

day of _ _ _ _ _ _ _ _ _----', 20_ _ at _ _ _ _ _ _ o'clock _ _.m.




                                                               PRESIDING JUDGE




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                               CERTIFICATE OF SERVICE

       This is to certifY that a true and correct copy of the foreg~ instrument has been se~d
upon all counsel of record in accordance with the Rules, this ~ day of ~ 20.J1-.


 Levi G. McCathern, Esq.                        ';g(VIAECF
 Matthew S. Muckleroy, Esq.                       o VIA OVERNIGHT
 MCCATHERN, P.L.L.C.                              o VIA FIRST CLASS MAIL
 Regency Plaza                                    o VIA FAX 214-741-4717
 3710 Rawlins, Suite 1600                         o VIA EMAIL:
 Dallas, TX 75219                                   LMCCATHERN@MCCATHERNLAW.COM
                                                  o VIA EMAIL:
                                                    MMUCKLEROY@MCCATHERNLAW.COM
                                                  o VIA CERTIFIED MAIL, RRR




                                           ROGG DUNN, ESQ.
                                           DAVID GROSS, ESQ.




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                                   CAUSE NO. DC-15-12151

BINH HOA LE,                                     §        IN THE DISTRICT COURT
      Plaintiff,                                 §
                                                 §
v.                                               §
                                                 §
EXETER FINANCE CORP. and ENZO                    §        191st JUDICIAL DISTRICT
PARENT, LLC,                                     §
     Defendants.                                 §
                                                 §
                                                 §
                                                 §        DALLAS COUNTY, TEXAS


                       PLAINTIFF’S SECOND AMENDED PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, Plaintiff Binh Hoa Le (“Plaintiff” or “Le”), and files this Plaintiff’s

Second Amended Petition (the “Petition”), complaining of Defendants Exeter Finance Corp.

(“Exeter”) and Enzo Parent, LLC (“Enzo,” collectively with Exeter, the “Defendants”); and in

support thereof would show the Court as follows:

                                         I.
                              DISCOVERY CONTROL PLAN

       1.      Pursuant to TEXAS RULE       OF   CIVIL PROCEDURE 190.3, Plaintiff intends that

discovery be conducted in this lawsuit under Level 2.

                                           II.
                                  RULE 47 DISCLOSURE

       2.      Pursuant to TEXAS RULE      OF   CIVIL PROCEDURE 47(c), Plaintiff states that he is

seeking monetary relief over $1,000,000.




PLAINTIFF’S SECOND AMENDED PETITION                                                          PAGE 1
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                                                 III.
                                               PARTIES

        3.      Plaintiff BINH HOA LE is an individual, who resided in Tarrant County at the

time the causes of action accrued, and who may be served with process through the undersigned

counsel.

        4.      Defendant EXETER FINANCE CORP. is a Texas for-profit corporation, with

its principal office located in Dallas County, Texas at 222 W. Las Colinas Blvd. Suite 1800,

Irving, Texas 75039, and which has been served with process and has appeared in this matter.

        5.      Defendant ENZO PARENT, LLC is a foreign (DE) limited liability company,

not registered to transact business in the State of Texas through the Texas Secretary of State.

Defendant Enzo has been served with process and has appeared in this matter.

                                            IV.
                                  JURISDICTION AND VENUE

        6.      The Court has jurisdiction in this case because the damages sought are within the

jurisdictional limits of the Court.

        7.      Venue is proper in Dallas County, pursuant to TEX. CIV. PRAC. & REM. CODE §

15.002(a)(1), because it is the county in which all or a substantial part of the events or

omissions giving rise to Plaintiff’s claims occurred. Venue is also proper in Dallas County,

pursuant to TEX. CIV. PRAC. & REM. CODE § 15.002(a)(3), because it is the county of Defendant

Exeter’s principal office in this state.

                                            V.
                                 BRIEF FACTUAL SUMMARY

        8.      Exeter induced Plaintiff to join its organization based on a series of false

promises and misrepresentations.           Exeter bestowed upon Plaintiff a certain compensation

package, as well as the title of EVP and Chief Human Resources Officer. But upon Exeter’s


PLAINTIFF’S SECOND AMENDED PETITION                                                         PAGE 2
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change of CEO, Plaintiff’s role in the organization shifted. Whereas before Plaintiff was

building out the HR infrastructure and growing the company, new management shifted that

focus and directed Plaintiff to circumvent and break employment and regulatory laws. When

Plaintiff refused to do so, Exeter fired Plaintiff. Now, Exeter and its parent company refuse to

honor their financial obligations to Plaintiff.

                                           VI.
                                  FACTUAL BACKGROUND

       9.      Defendant Exeter is a subprime auto lender that buys loans from more than

10,000 franchised U.S. dealerships. Exeter, formed in April 2006, engages in the purchasing,

securitization and servicing of nonprime consumer automobile installment sale contracts. The

Blackstone Group L.P. (“Blackstone”), a multinational private equity, investment banking, and

alternative asset investment group headquartered in New York, New York, purchased Exeter in

August 2011, making Exeter one of its portfolio companies. Upon information and belief,

Defendant Enzo is the parent holding company of Exeter.

       10.     In or around June 2013, Exeter recruited Plaintiff to serve as the head of its

Human Resources department with the title of Chief Human Resources Officer (CHRO). In

doing so, Exeter made a series of misrepresentations and false promises to Plaintiff, which he

relied upon in deciding to join the organization.         As detailed more fully below, such

misrepresentations included representations about the financial stability of the company, as well

as the compensation structure (and upside) available to Plaintiff through Exeter’s profits interest

equity program.

       11.     Exeter initially contacted Le through an executive recruiting service. However,

Exeter’s ultimate decision-maker, its Chief Executive Officer (CEO), conducted Plaintiff’s

interviews and ultimately extended Plaintiff’s offer. During those meetings, Exeter’s CEO


PLAINTIFF’S SECOND AMENDED PETITION                                                           PAGE 3
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presented Plaintiff with an offer, which included a base salary, signing bonus, and annual target

bonus, among other things. Plaintiff initially hesitated to accept the offer, given the significant

risks of joining a start-up company with an unproven track record.           However, the CEO

represented to Plaintiff that he would be sufficiently protected from any downside in the form of

a “standard 18-month severance” package. The offer was memorialized in a July 25, 2013

agreement, executed by the CEO and Plaintiff (the “Employment Agreement”).                     The

Employment Agreement also provided Plaintiff with the following compensation package:

   •   “Profits interest units in the parent company of Exeter Finance Corp., reserved for
       Executive Team Members, subject to vesting, performance and other terms and
       conditions set forth in a management profits interest unit agreement.

   •   As a Key Employee, you will qualify for a Severance and Non-compete Agreement that
       pays, subject to certain terms and conditions, an aggregate amount equal to 150% of the
       base salary and bonus paid to the Key Employee during the one-year period immediately
       preceding termination without cause.”

       12.     This “standard severance and non-compete agreement” provided that so long as

Plaintiff was not terminated for “cause,” Exeter would pay Plaintiff “150% of [his] last 12

months’ salary plus bonus payable over 18 months.”

       13.     As to the “profits interest units,” the CEO presented Plaintiff with a spreadsheet

indicating the projected value of said units “given certain exit valuations.” The CEO reinforced

and reiterated to Le that the company was on track to meet certain financial targets, and he

projected that Plaintiff, as CHRO, would be entitled to profits interest units worth $5,013,517,

at such time. Exeter’s General Counsel also forwarded to Plaintiff a “summary” of the profits

interest units program. Based on these representations, among others, Plaintiff executed the

Employment Agreement and walked away from a multi-million dollar equity plan with his prior

employer.




PLAINTIFF’S SECOND AMENDED PETITION                                                           PAGE 4
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       14.     On August 1, 2013, Plaintiff began his employment with Exeter as CHRO. After

several months of employment, in or around October 2013, Exeter presented Plaintiff with a

certain severance, non-solicitation, non-competition and release agreement (the “Severance

Agreement”). The Severance Agreement contained many provisions not previously disclosed to

Plaintiff, including, but not limited to, a non-solicitation clause, an arbitration clause, and a

release clause. The Severance Agreement also arguably contemplated a release of Plaintiff’s

claim to any profits interest units; profits interest units that still had not been properly explained

to Plaintiff. Given these new, troubling provisions, Plaintiff approached Exeter’s CEO and

General Counsel and expressed his concerns with the additional restrictions proposed by the

Severance Agreement. As such, Plaintiff refused to execute the Severance Agreement and

advised Exeter of the same. Exeter took no actions against Plaintiff on account of his refusal to

sign the new proposed agreement. As such, Plaintiff continued to work for Exeter under the

terms of the original Employment Agreement provided to him on or about July 25, 2013.

       15.     In or about May 2014, Enzo and Plaintiff also entered into a certain Management

Profits Interest Unit Agreement (the “Profits Interest Agreement”).            The Profits Interest

Agreement granted Plaintiff certain profits interest units (equaling 6% of the total profits

interest units in Enzo), and provided Plaintiff with certain rights regarding the vesting of such

units. Despite multiple requests by Plaintiff for clarity on the metrics/valuation of the profits

interest units, Exeter and Blackstone refused to provide any financial details that could be used

to calculate the fair market value of such units. But the requests for clarity did not stop with

Plaintiff. Upon information and belief, the same requests began to stream in from over one

hundred (100) officers, who were also promised a share of the profits interest pool. Upon

information and belief, Exeter’s CEO committed shares to these individuals during a leadership



PLAINTIFF’S SECOND AMENDED PETITION                                                              PAGE 5
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summit in November 2011 as part of a motivation and retention strategy. Regrettably, upon

information and belief, Exeter and Blackstone never intended to honor these commitments.

       16.       Against this backdrop, in October 2014, Exeter underwent a management

overhaul, replacing its CEO with a new CEO (the “New CEO”). Almost immediately after the

New CEO’s hiring, complaints began flooding into the Human Resources Department alleging

unethical, inappropriate and/or illegal conduct of the New CEO and his newly hired Chief of

Staff (“CoS”). Such complaints, included, but were not limited to, the following:

             •   Monitoring of employee email accounts and instant messaging without
                 legitimate business purposes, including tapping into Human Resources (HR)
                 email boxes containing private healthcare and medical records for employees;

             •   Empowering the CoS to sift through confidential recycling bins for the purpose
                 of justifying improper termination actions;

             •   Instructing HR to misapply the company’s finances for purposes of calculating
                 employee bonuses, including, but not limited to, calculating bonus payments
                 outside of clearly documented plan terms and conditions and moving eligible
                 earnings from 2015 to 2014 and from 2014 to 2013, thereby inflating bonus
                 payments for the New CEO and CoS;

             •   Failing to adhere to company policy regarding termination of employees;

             •   Using intimidation tactics to terminate executives without cause and
                 intentionally violating employment contracts by refusing to pay agreed upon
                 severance;

             •   Terminating an executive through purported “restructuring” but in actuality,
                 freeing the space so that an unqualified CoS could take the same role;

             •   Mishandling severance agreements and failing to honor plan document terms and
                 conditions for a multitude of other terminated personnel;

             •   Terminating a high performing employee because the New CEO and CoS did not
                 like “the way she dressed;”

             •   New CEO maintaining an inappropriate relationship with a staff member and
                 providing “over the top” preferential treatment for a direct report;



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             •   New CEO ignoring claims brought forward against the CoS for creating a hostile
                 work environment;

             •   Making unsupported, factually inaccurate accusations to purposely create
                 divisions across departments;

             •   Accelerating the reduction in force (RIF) for hundreds of employees without
                 proper notification and denying the payment of severance and bonuses to others
                 in contradiction to plan documents and contrary to verbal and written
                 representations made to said employees;

             •   Violating the Family and Medical Leave Act (FMLA) and the Americans with
                 Disabilities Act (ADA) for employees protected by these laws;

             •   Violating the Consumer Financial Protection Bureau (CFPB) compliance
                 provisions for numerous employees and executives;

             •   Knowingly misclassifying over one hundred (100) underwriters for years under
                 the Fair Labor Standards Act (FLSA) and using the RIF process to eliminate the
                 roles in an attempt to make the “issue go away”; and

             •   Retracting the commitment made to over one hundred (100) officers that they are
                 eligible participants in the profits interest pool, among others.

       17.       Further, Exeter’s New CEO instructed HR to use former employees’ confidential

information (social security, birth date, home address, etc.) to tap into outside networks to

determine when and where those individuals went to work after leaving Exeter. The New CEO

also instructed HR to terminate a former employee’s wife for retaliatory purposes because her

husband went to work for a competitor, and he instructed HR to skip the standard reduction in

force legal review process so employees could be targeted for termination arbitrarily without

documentation of the actions taken.

       18.       Against this backdrop, in January 2015, the New CEO further reinforced to

Plaintiff that he was a key contributor to Exeter. The New CEO represented that Exeter’s Board

of Directors had approved a retention bonus for Plaintiff and a special long-term incentive




PLAINTIFF’S SECOND AMENDED PETITION                                                        PAGE 7
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equity grant would be awarded to him and only a few other “critical talents” across the

company.

       19.     Meanwhile, Plaintiff escalated his concerns to Exeter and Blackstone. But to

Plaintiff’s utter shock and surprise, upon information and belief, these egregious behaviors were

not only condoned, they were encouraged by Blackstone and Exeter’s Board of Directors.

       20.     Plaintiff continued to escalate the complaints to the proper authorities, including

the Texas Workforce Commission (“TWC”) and the Equal Employment Opportunity

Commission (“EEOC”). Plaintiff also continued to investigate the claims of improper actions

by Exeter employees. In fact, between November 1, 2014 and February 23, 2015, Plaintiff

expressed his opposition to these actions to both, the New CEO, as well as Exeter’s General

Counsel, among others.     Specifically, Plaintiff opposed any actions taken by Exeter against

other employees in violation of Title VII of the Civil Rights Act of 1964, the Age

Discrimination in Employment Act, the Americans with Disabilities Act, 42 U.S.C. § 1981 and

the TEXAS LABOR CODE, among other violations.

       21.     On or about February 23, 2015, Exeter terminated Plaintiff’s employment out of

retaliation for raising concerns about the unethical and illegal treatment of employees. The New

CEO personally delivered the message, with General Counsel present, and advised Plaintiff that

the termination was not for cause, but instead due to “philosophical differences” between

Plaintiff and himself. The New CEO then offered Plaintiff a proposed separation agreement

and release, but it contained terms wholly inconsistent with those provided in the Employment

Agreement.    Specifically, the severance proposal was limited to a 9.39 weeks’ salary (as

opposed to 150% of Plaintiff’s base salary plus bonuses paid during the preceding year).

Exeter also refused to pay Plaintiff’s 2014 bonus, which was earned by Plaintiff and was



PLAINTIFF’S SECOND AMENDED PETITION                                                          PAGE 8
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scheduled to be paid by March 15, 2015. In addition, the severance agreement proposed a full

release of any claims Plaintiff would have regarding his profits interest units. Given these

offensive terms, Plaintiff refused to sign the proposed separation agreement and release.

          22.   On March 10, 2015, Plaintiff received a correspondence from the New CEO, in

his capacity as President and CEO of Enzo, purporting to provide Plaintiff with a “Call Notice

for Certain Earned Profits Interest Units” (the “Notice”). The Notice states that Enzo “hereby

exercises its Call Option to purchase 140,452 of the Time-Base Profits Interest units held by

[Plaintiff]…which [] constitute all of the Earned Profits Interest Units held by you.” Enzo then

represented that the “fair market value of the Called Units…is $0.00.” The Notice directly

violates the terms of the Profits Interest Agreement, as to the determination of fair market value

of the units.

          23.   On June 10, 2015, Plaintiff filed a charge of discrimination with the TWC and

the EEOC on account of the unlawful retaliation as a result of his opposition to the

discriminatory and retaliatory actions set forth above. On September 28, 2015, the EEOC

issued its “Notice of Right to Sue.” This action is being commenced within sixty (60) days of

receiving that notice.

                                          VII.
                                    CAUSES OF ACTION

                               COUNT 1: BREACH OF CONTRACT

          24.   Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          25.   The agreements between Plaintiff and Defendants constitute valid and

enforceable agreements in this case. Plaintiff is a proper party to sue for a breach of the

agreements. Plaintiff performed, tendered performance of, or was excused from performing his


PLAINTIFF’S SECOND AMENDED PETITION                                                          PAGE 9
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contractual obligations. Defendants breached the agreements and Defendants’ breaches caused

Plaintiff’s injury.

COUNT 2: FRAUD, FRAUD IN THE INDUCEMENT, FRAUD BY NON-DISCLOSURE, AND FRAUD BY
                                   OMISSION

          26.    Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          27.    By reason of Plaintiff’s reliance on the representations and fraudulent

concealment of material facts by Defendants, Plaintiff has been damaged in an amount within

the jurisdictional limits of this Honorable Court. In connection with inducing Plaintiff to

provide valuable services to them, Defendants employed a scheme and common course of

conduct to defraud Plaintiff. The misrepresentations and concealment of facts set forth herein

were material.

          28.    Defendants knew the misrepresentations and concealment of facts set forth

herein were false. Alternatively, Defendants acted with reckless disregard as to whether the

representations set forth herein were true. Defendants misrepresented and concealed facts as set

forth herein with the intent to induce Plaintiff to enter various agreements, including, but not

limited to, the Employment Agreement and the Profits Interest Agreement.              Defendants

misrepresented and concealed facts as set forth herein with the intent of gaining their own

financial advantage to the disadvantage of Plaintiff. Plaintiff relied upon the misrepresentations

and concealment of facts set forth as herein. Plaintiff’s reliance on these representations and

concealment of facts was reasonable and justifiable.

          29.    Plaintiff has suffered and continues to suffer economic and non-economic losses

because of the wrongful conduct of Defendants. The amount of such losses will be determined

according to proof at trial. On information and belief, the wrongful acts of Defendants, as set


PLAINTIFF’S SECOND AMENDED PETITION                                                         PAGE 10
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forth in this Count, were done maliciously, oppressively, and with the intent to mislead and

defraud, and Plaintiff is entitled to punitive and exemplary damages to be ascertained according

to proof, which is appropriate to punish and set an example of Defendants. Accordingly,

Plaintiff respectfully requests that exemplary damages be awarded against Defendants in a sum

within the jurisdictional limits of this Honorable Court.

COUNT 3: QUANTUM MERUIT/UNJUST ENRICHMENT/RESTITUTION/MONEY COUNTS/MONEY
                            HAD AND RECEIVED

          30.    Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          31.    Defendants unjustly received benefits at the expense of Plaintiff through their

wrongful conduct. Defendants continue to unjustly retain these benefits at the expense of

Plaintiff. It would be unjust for Defendants to retain any value they obtained as a result of their

wrongful conduct. Plaintiff is entitled to full restitution of all amounts in which Defendants

have been unjustly enriched at Plaintiff’s expense.

COUNT 4: VIOLATIONS OF CHAPTER 21 OF TEXAS LABOR CODE AND TITLE VII OF THE CIVIL
                   RIGHTS ACT OF 1964/42 U.S.C. § 1981, ET SEQ.

          32.    Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          33.    Plaintiff has satisfied all jurisdictional prerequisites in connection with his claim

under the Texas Commission on Human Rights Act (“TCHRA”), Tex. Lab. Code Ann. §§

21.001 et seq.

          34.    Plaintiff is an “employee” as defined by the TCHRA in Tex. Lab. Code Ann. §§

21.002(7), as well as Title VII of the Civil Rights Act of 1964 (Title VII) at 42 U.S.C. §

2000e(f).



PLAINTIFF’S SECOND AMENDED PETITION                                                             PAGE 11
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       35.     Exeter is an “employer” as defined by the TCHRA in Tex. Lab. Code Ann. §§

21.002(8), as well as Title VII at 42 U.S.C. § 2000e(b).

       36.     Exeter violated the TCHRA under Tex. Lab. Code Ann. § 21.055 and Title VII

by committing an unlawful employment practice and retaliating and/or discriminating against

Plaintiff for opposing a discriminatory practice conducted by Exeter. Exeter committed an

unlawful employment practice under Tex. Lab. Code Ann. § 21.051 by discharging and/or

discriminating against individuals because of race, color, disability, religion, sex, national origin

and/or age of the employees. Exeter violated 42 U.S.C. § 1981 by not allowing certain persons

the full and equal benefit of all laws and proceedings for the security of persons and property as

is enjoyed by white citizens. Plaintiff opposed such actions and Exeter terminated Plaintiff due

to such opposition.

       37.     Exeter further violated the TCHRA under Tex. Lab. Code Ann. § 21.058 and

Title VII and committed an unlawful employment practice by willfully obstructing and/or

preventing Plaintiff, Exeter’s former Chief HR Officer, from complying with the TCHRA and

Title VII.

       38.     As a result of these unlawful employment practices, Plaintiff is entitled to

compensatory damages, including, but not limited to, back pay and interest on back pay, as well

as punitive damages, as Plaintiff will show that Exeter acted with malice or with reckless

indifference to the state-protected rights of the aggrieved individual. See Tex. Lab. Code Ann.

§ 21.2585. Plaintiff is also entitled to reasonable attorneys’ fees and costs under Tex. Lab.

Code Ann. § 21.259, as well as 42 U.S.C. § 2000e-5(k).




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COUNT 5: VIOLATIONS OF THE FAIR LABOR STANDARDS ACT OF 1938, 29 U.S.C. 201, ET SEQ.

          39.   Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          40.   Plaintiff is an “employee” as defined by the Fair Labor Standards Act of 1938

(FLSA) at 29 U.S.C. § 203(e).

          41.   Exeter is an “employer” as defined by the FLSA at 29 U.S.C. § 203(d).

          42.   Upon information and belief, Exeter violated the FLSA, as set forth in 29 U.S.C.

§ 215, by misclassifying its employees, for purposes of overtime pay.

          43.   Exeter violated section 215(a)(3) of FLSA by retaliating, discharging and/or

discriminating against Plaintiff for filing a complaint or instituting or causing to be instituted a

proceeding related to the FLSA.

          44.   Plaintiff is entitled to such legal and equitable relief, as prescribed by law,

including, but not limited to, employment, reinstatement, promotion, and the payment of wages

lost and an additional equal amount as liquidated damages, as well as attorneys’ fees, in

accordance with 29 U.S.C. § 216(b).

 COUNT 6: VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT, 42 U.S.C. § 12111, ET
                                     SEQ.

          45.   Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          46.   Exeter is a “covered entity” and an “employer” as defined by the Americans with

Disabilities Act (ADA) at 42 U.S.C. § 12111(2) & (5).

          47.   Plaintiff is an “employee” as defined by the ADA at 42 U.S.C. § 12111(4).




PLAINTIFF’S SECOND AMENDED PETITION                                                           PAGE 13
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          48.   Exeter violated section 12112(a) of the ADA by discriminating against a

qualified individual(s) on the basis of disability in regard to job application procedures, the

hiring, advancement, or discharge of employees, employee compensation, job training, and/or

other terms, conditions and privileges of employment. Exeter violated section 12203(a) of the

ADA by discriminating against Plaintiff because Plaintiff has opposed an act or practice made

unlawful by the ADA or because Plaintiff made a charge, testified, assisted, or participated in

any manner in an investigation, proceeding, or hearing under the ADA.

          49.   As such, Plaintiff is entitled to the remedies and procedures available under

sections 12117, 12133 and 12188 of the ADA, in accordance with 42 U.S.C. § 12203(c).

          COUNT 7: VIOLATIONS OF THE AGE DISCRIMINATION IN EMPLOYMENT ACT OF 1967,
                                    29 U.S.C. § 621, ET SEQ.

          50.   Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          51.   Exeter is an “employer” as defined by 29 U.S.C. § 630(b).

          52.   Plaintiff is an “employee” as defined by 29 U.S.C. § 630(f).

          53.   Exeter violated section 623 of the Age Discrimination in Employment Act of

1967, 29 U.S.C. § 621, et seq. (ADEA) by failing or refusing to hire or to discharge an

individual or otherwise discriminate against an individual with respect to his compensation,

terms, conditions, or privileges of employment, because of such individual’s age. Exeter further

violated section 623(d) of the ADEA by discriminating against Plaintiff because he was

opposed to the practice made unlawful by the ADEA or because he made a charge, testified,

assisted, or participated in any manner in an investigation, proceeding, or litigation under the

ADEA.




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          54.   As such, Plaintiff is entitled to such legal and equitable relief as will effectuate

the purposes of the ADEA, pursuant to section 626(c)(1) of the ADEA.

COUNT 8: VIOLATIONS OF THE FAMILY AND MEDICAL LEAVE ACT OF 1993, 29 U.S.C. § 2601,
                                    ET SEQ.

          55.   Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          56.   Exeter is an “employer” as defined by 29 U.S.C. § 2611(4).

          57.   Plaintiff is an “employee” as defined by 29 U.S.C. § 203(e).

          58.   Exeter violated the Family and Medical Leave Act of 1992, 29 U.S.C. § 2601, et

seq. (FMLA), by interfering with, restraining, or denying the exercise of or the attempts to

exercise certain rights there under, in accordance with section 2615 of the FMLA. Specifically,

Exeter violated certain eligible employees entitlement to leave in accordance with section 2612

of the FMLA and/or the restoration of certain employees position upon return from leave in

accordance with section 2614 of the FMLA.

          59.   Exeter violated section 2615 of the FMLA by discharging or in any other manner

discriminating against Plaintiff for opposing any practice made unlawful by the FMLA. In

accordance with 29 U.S.C. § 2615(b), Exeter violated the FMLA by discharging or in any

manner discriminating against Plaintiff because Plaintiff (1) has filed any charge, or has

instituted or caused to be instituted any proceeding, under or related to the FMLA, (2) has

given, or is about to give, any information in connection with an inquiry or proceeding related

to any right provided under the FMLA, or (3) has testified, or is about to testify, in any inquiry

or proceeding related to any right provided under the FMLA.

          60.   Plaintiff is entitled to the damages set forth in section 2617 of the FMLA, which

includes damages in the amount of wages, salary, employment benefits, or other compensation


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denied or lost by reason of the violation, interest at the prevailing rate, and an equal additional

amount as liquidated damages, among others. Plaintiff is also entitled to reasonable attorney’s

fees and costs in accordance with 29 U.S.C. § 2617(a)(3).

                                         VIII.
                                  EXEMPLARY DAMAGES

          61.   Plaintiff readopts and realleges the allegations above and incorporates the same

herein.

          62.   Defendants’ acts complained of herein were committed knowingly, willfully,

intentionally, with actual awareness, or with actual malice. In order to punish Defendants for

such unconscionable overreaching and to deter such actions and/or omissions in the future,

Plaintiff seeks recovery against Defendants for exemplary damages as provided by Chapter 41

of the TEXAS CIVIL PRACTICE AND REMEDIES CODE, the Tex. Lab. Code Ann. § 21.2585, as well

as under 29 U.S.C. § 621, et seq., 42 U.S.C. § 12111, et seq., among others.

                                           IX.
                                     ATTORNEYS’ FEES

          63.   Plaintiff readopts and realleges the allegations above and incorporates the same

herein. Plaintiff is entitled to recover reasonable and necessary attorneys’ fees, including but

not limited to recovery of attorneys’ fees under TEX. CIV. PRAC. & REM. CODE § 38.001 and

Tex. Lab. Code Ann. § 21.259, 42 U.S.C. § 2000e-5(k), 29 U.S.C. § 216(b) and 29 U.S.C. §

2617(a)(3), and 42 U.S.C. § 2000e, et seq., among others.

                                              X.
                                           INTEREST

          64.   Plaintiff seeks to recover pre-judgment and post-judgment interest at the

maximum legal rate.




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                                          XI.
                                 CONDITIONS PRECEDENT

       65.     Pursuant to TEXAS RULE       OF   CIVIL PROCEDURE 54, all conditions precedent to

Plaintiff’s claims for relief have been performed or have occurred.

                                         XII.
                               REQUEST FOR DISCLOSURE

       66.     Pursuant to Rule 194 of the TEXAS RULES OF CIVIL PROCEDURE, Plaintiff hereby

requests that Defendants disclose the information or material described in Rule 194.2(a)–(l),

within the time allotted by the TEXAS RULES OF CIVIL PROCEDURE. Said information or material

shall be produced at the law offices of McCathern, PLLC, 3710 Rawlins Street, Suite 1600,

Dallas, Texas 75219.

                                               PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that upon

final hearing, the Court enter judgment against Defendants in the amounts set forth above,

including, but not limited to the following:

   (a) Actual damages in the amount determined to have been sustained by Plaintiff;

   (b) Costs and expenses of this lawsuit, including reasonable attorneys’ fees incurred by

       Plaintiff in prosecuting this action;

   (c) Exemplary damages as required by law;

   (d) Pre-judgment and post-judgment interest on all monetary relief sought herein at the

       highest rates allowed by law; and,

   (e) Such other and further relief, both at law and in equity, to which Plaintiff may be justly

       entitled.



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Date: November 24, 2015

                                                   Respectfully submitted,

                                                   MCCATHERN, P.L.L.C.

                                                   By:/s/ Levi G. McCathern___________
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                                                          Dallas, Texas 75219
                                                          Telephone: 214.741.2662
                                                          Facsimile: 214.741.4717

                                                   ATTORNEYS FOR PLAINTIFF


                              CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a true and correct copy of this Plaintiff’s Second
Amended Petition was served upon all counsel of record in this matter on this the 24th day of
November, 2015.


                                                   /s/ Matthew S. Muckleroy
                                                   Matthew S. Muckleroy




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